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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 HAROLD STONE and JOHN WOESTMAN,   )
                                   )
 for themselves and others similarly situated, and
 UNITED STEEL, PAPER AND FORESTRY, )
 RUBBER, MANUFACTURING, ENERGY,    )
 ALLIED INDUSTRIAL AND SERVICE     )
 WORKERS INTERNATIONAL UNION,      )                      No. 1:17-cv-05360
 AFL-CIO-CLC,                      )
                                   )                      Hon. Thomas M. Durkin
                       Plaintiffs, )
                                   )                      Magistrate Susan E. Cox
       v.                          )
                                   )
 SIGNODE INDUSTRIAL GROUP LLC and )
 ILLINOIS TOOL WORKS INC.,         )
                                   )
                       Defendants. )

               MEMORANDUM IN SUPPORT OF DEFENDANTS’
          MOTION TO STAY INJUNCTION AND ORDER PENDING APPEAL

       On March 13, 2019, the District Court issued a memorandum opinion and order (“order”)

granting Plaintiffs’ cross-motion for summary judgment and permanent injunction. Doc. 55. The

District Court then entered a March 26, 2019 permanent injunction. Doc. 64. Defendants filed

their appeal on April 2, 2019. Doc. 66. Pursuant to Federal Rule of Civil Procedure 62(d),

Defendants now move the District Court to stay enforcement of the injunction and order pending

resolution of Defendants’ appeal.

       The District Court should grant the instant motion because Defendants have a strong

likelihood of succeeding on their appeal. Respectfully, the District Court erred when it concluded

that the relevant agreement did not permit termination of Plaintiffs’ benefits because the

termination clause did not specifically reference those benefits. That ruling ignores both the fact

that the agreement only addressed retiree medical benefits, as well as the instruction of the United
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States Supreme Court that courts must give effect to so-called “general” durational clauses when

assessing vested benefit claims. Compounding this error, the District Court distinguished relevant

Seventh Circuit authority on grounds that did not factor into the Seventh Circuit’s repeated

recognition that “benefits described as ‘lifetime’ are not really vested when the same contract also

reserves the right to revoke them, because the only proper construction of the two seemingly

conflicting provisions is that the ‘lifetime’ benefits are ‘good for life unless revoked or modified.’”

Barnett v. Ameren Corp., 436 F.3d 830, 833 (7th Cir. 2006) (citing Vallone v. CNA Fin. Corp.,

375 F.3d 623, 634–35 (7th Cir. 2004)).

       Defendants will also show irreparable injury in the form of economic harm—estimated to

be $1.3–1.6 million annually—that cannot be recovered should Defendants prevail on appeal, as

well as a corresponding lack of substantial harm to Plaintiffs from a stay. The public’s interest

also supports the issuance of a stay so as to ensure that the agreement actually reached by the

parties is enforced. The District Court should therefore grant Defendants’ motion and stay the

injunction and order pending appeal.

                                         BACKGROUND

       The key document in this vested retiree medical benefits claim is the 2002 Pensioners’ and

Surviving Spouses’ Health Insurance Agreement (the “2002 Agreement”). Doc. 55 at 3. As

Plaintiffs concede (Doc. 1, ¶¶ 17-20), its terms are contained in several documents: a 1994

Pensioners’ and Surviving Spouses’ Health Insurance Agreement (Doc. 36-2); a 1994 Program of

Insurance Benefits (which “constitutes a part of the” Agreement) (the “1994 Program”) (Doc. 36-

3); and a 2002 Settlement Agreement that made changes to the 1994 Agreement and the 1994

Program. See Doc. 36-4 (Part Two, addressing Acme Packaging Corporation (Riverdale Plant)).




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       Of particular importance here, the 2002 Agreement only addresses retiree medical benefits.

See, e.g., Doc. 36-2 (definitions of “Pensioner,” “Surviving Spouse,” and “Pensioners’ and

Surviving Spouses’ Health Insurance”); Doc. 36-4 at PageID #:683–84 (2002 Acme Packaging

Settlement Agreement at Part Two, Section II.C., detailing the covered individuals). The specific

retiree benefits are contained in the 1994 Program, as amended by the 2002 Settlement Agreement.

See, e.g., Doc. 36-3 at PageID #:614 (1994 Program); Doc. 36-4 at PageID #:684, 698–99

(outlining 2002 changes).1

       Despite the foregoing, the District Court rejected Defendants’ argument that Section 7

defeated Plaintiffs’ claim because this Court held that “section 7 does not mention termination of

benefits, only termination of the agreement.” Doc. 55 at 5. In so holding, the District Court further

distinguished the numerous Seventh Circuit cases Defendants cited because “[t]he provisions in

the . . . cases Defendants cite expressly limited the duration of benefits to the duration of the

agreement.” Id. at 6 (citations omitted) (emphasis in original).

       Defendants can show a strong likelihood of success on their Seventh Circuit appeal because

the District Court erred in its interpretation of the 2002 Agreement. Since the 2002 Agreement

only addresses retiree medical benefits, there was no need for Section 7 to mention “benefits” in

order for it to be reasonably applied to permit termination of the entire 2002 Agreement and the

retiree medical benefits provided therein.

       This interpretive error also undermines the District Court’s attempt to distinguish the

Seventh Circuit and Supreme Court precedents that support Defendants’ position. The fact that


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        The Agreement provides that the Program is “established by [the] Agreement” and
“constitutes a part of [the] Agreement as though incorporated herein,” and the Program applies to
retirees and their surviving spouses “in accordance with the provisions of [the] Agreement.” Doc.
36-2 at PageID #:604. The Program also contains a reservation of rights clause. Doc. 36-3 at
PageID #:615.
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the termination provision in some cases may have mentioned “benefits” or “coverage(s)” does not

mean such language must be present in order to defeat a vesting claim—a point the Supreme Court

has recently made in two decisions. M&G Polymers USA, LLC v. Tackett, ___ U.S. ___, 135 S.

Ct. 926, 936 (2015) (criticizing lower court’s refusal to “apply general durational clauses to

provisions governing retiree benefits” and further holding that cases “requiring a contract to

include a specific durational clause for retiree health benefits to prevent vesting. . . . distort the text

of the agreement and conflict with the principle of contract law that the written agreement is

presumed to encompass the whole agreement of the parties.”); CNH Indus. N.V. v. Reese, ___ U.S.

___, 138 S. Ct. 761, 766 (2018) (reversing lower court’s failure to apply “general durational clause

that applied to all benefits, unless the agreement specified otherwise.”).

        Because Defendants can show a likelihood of success on their appeal, and because all other

factors favor Defendants’ position, the District Court should stay its order and injunction.

                                             ARGUMENT

        Federal Rule of Civil Procedure 62(d) provides: “While an appeal is pending from an

interlocutory order or final judgment that grants . . . an injunction, the court may suspend, modify,

restore, or grant an injunction on terms for bond or other terms that secure the opposing party’s

rights.” FED. R. CIV. P. 62(d).

        The decision to stay an injunction pending appeal is evaluated under the following factors:

(1) whether the moving party has made a showing of likelihood of success on appeal, (2) whether

the moving party has demonstrated a likelihood of irreparable injury absent a stay, (3) whether the

stay would substantially harm other parties to the litigation, and (4) where the public interest lies.

Glick v. Koenig, 766 F.2d 265, 269 (7th Cir. 1985); In re A&F Enters., Inc. II, 742 F.3d 763, 766

(7th Cir. 2014). As with a preliminary injunction motion, a “sliding scale” approach applies; the

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greater the party’s likelihood of success on the merits, the less heavily the balance of harms must

weigh in its favor, and vice versa. Cavel Int’l, Inc. v. Madigan, 500 F.3d 544, 546–47 (7th Cir.

2007).

I.       Defendants Can Show a Likelihood of Success on the Merits of Their Appeal

         The “likelihood of success” standard requires showing something less than a 50% chance

of success. Abbott Labs. v. Sandoz, Inc., 500 F. Supp. 2d 846, 849 (N.D. Ill. 2007). To meet this

standard, it is “enough that the [moving party] have a substantial case on the merits.” Thomas v.

City of Evanston, 636 F. Supp. 587, 590 (N.D. Ill. 1986).

         Viewed under this standard, Defendants respectfully submit that there is a strong likelihood

that the Seventh Circuit will reverse the District Court’s interpretation of the 2002 Agreement’s

termination provision, particularly given the applicable de novo standard of review. ABS Global,

Inc. v. Inguran, LLC, 914 F.3d 1054, 1076 (7th Cir. 2019) (lower court’s interpretation of contract

is reviewed de novo). As detailed below, the District Court’s interpretation of Section 7 proceeded

from a faulty factual premise regarding the 2002 Agreement.

         A.     Because the 2002 Agreement only addressed retiree medical benefits, the
                District Court erred in finding that the Section 7 termination provision had to
                specify “benefits” in order to defeat Plaintiffs’ claims

         Key to the District Court’s contract interpretation analysis was its conclusion that Section

7 of the 2002 Agreement did not control termination of Plaintiffs’ alleged vested benefits because

Section 7 “does not mention termination of benefits, only termination of the agreement.” Doc. 55

at 5. But the 2002 Agreement only addresses one subject—a “Program of Insurance Benefits” for

retirees and their surviving spouses. See, e.g., Doc. 36-2 at PageID #:604 (1994 Insurance

Agreement); Doc 36-3 at PageID #:614 (1994 Program of Insurance Benefits); Doc. 36-4 at

PageID #:683–84, 698–700 (2002 amendments to the 1994 Agreement and Program).                     As

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discussed supra, the Program is “a part of [the] Agreement as though incorporated herein,” and

the Program applies to retirees and their surviving spouses “in accordance with the provisions of

[the] Agreement.” Doc. 36-2 at PageID #:604.

       Given these undisputed facts, there is no meaningful difference between a provision giving

Defendants the right to terminate the entire 2002 Agreement (which is what the 2002 Agreement

provides), and a provision giving Defendants the right to terminate the benefits provided by the

2002 Agreement (which is what the Court found was allegedly lacking in this case). Given the

sole subject matter of the 2002 Agreement, both provisions must be read as saying exactly the

same thing. That is, Defendants’ right to terminate the 2002 Agreement inexorably includes the

right to terminate the benefits promised by that Agreement. There is nothing else in the 2002

Agreement that could be terminated.

       And because the District Court found that Section 7 gave Defendants the “unilateral” right

to terminate the 2002 Agreement, Doc. 55 at 5, that conclusion should have resulted in a ruling in

Defendants’ favor consistent with the numerous Seventh Circuit cases cited by Defendants. See

also discussion infra. The District Court’s conclusion that Section 7 includes “the ability to

unilaterally terminate” the 2002 Agreement, but “does not provide for the right to terminate the

benefits,” nullifies Section 7’s termination right in violation of established rules of contract

interpretation. Tackett, 135 S. Ct. at 936.




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       B.      The Supreme Court has expressly rejected cases holding that a duration clause
               must specifically reference retiree benefits in order to defeat a vesting claim

       The District Court’s conclusion that Section 7 had to specifically reference “benefits” in

order to defeat Plaintiffs’ claim also runs counter to recent Supreme Court cases addressing vested

retiree medical benefit claims. See Tackett, 135 S. Ct. at 936 and Reese, 138 S. Ct. at 766. The

District Court held that Reese did not support Defendants’ position because “the Supreme Court’s

holding was premised on the additional fact that the agreement in that case was otherwise ‘silent’

as to vesting.”   Doc. 55 at 7 (citations omitted).      But as Defendants pointed out in their

supplemental brief, Doc. 51 at 1–2, the key discussions from Tackett and Reese address the

importance of applying even a durational clause considered “general,” consistent with established

principles of contract interpretation. Pursuant to Tackett and Reese, this interpretive principle

applies to the resolution of vested benefit claims, regardless of whether the claim turns on an

explicit or implied vesting promise. Id.

       In Tackett, the Supreme Court rejected a series of inferences that the Sixth Circuit used to

address claims for vested retiree medical benefits. 135 S. Ct. at 935–37. Among the errors the

Supreme Court identified in the Sixth Circuit’s interpretive approach was its “refus[al] to apply

general durational clauses to provisions governing retiree benefits.” Id. at 936. In that regard, the

Supreme Court further noted that the Sixth Circuit’s erroneous reasoning “went even further, [by]

requiring a contract to include a specific durational clause for retiree health benefits to prevent

vesting.” Id. The Supreme Court expressly rejected this approach, finding such “decisions distort

the text of the agreement and conflict with the principle of contract law that the written agreement

is presumed to encompass the whole agreement of the parties.” Id. (citations omitted).

       Consistent with Tackett, the Supreme Court in Reese found that the Sixth Circuit again

erred by, inter alia, failing to apply a general durational clause. The Supreme Court began its
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analysis in Reese by revisiting its Tackett holding, which “‘reject[ed] the Yard-Man inferences as

inconsistent with ordinary principles of contract law.’” Reese, 138 S. Ct. at 763 (citations omitted).

Notably, the Supreme Court further stated that “[m]ost obviously, the Yard-Man inferences

erroneously ‘refused to apply general durational clauses to provisions governing retiree benefits,’”

which “‘distort[ed] the text of the agreement and conflict[ed] with the principle of contract law

that the written agreement is presumed to encompass the whole agreement of the parties.’” Id.

(citations omitted).

       In criticizing the Sixth Circuit’s failure to, inter alia, apply the general durational clause in

Reese, the Supreme Court also observed that “when an agreement does not specify a duration for

health care benefits in particular, other courts would simply apply the general duration clause.”

Id. & n.4 (citations omitted).      “Shorn of Yard-Man inferences,” the Supreme Court found

resolution of the claim in Reese to be “straightforward,” because, inter alia, the labor contract at

issue “contained a general duration clause that applied to all benefits, unless the agreement

specified otherwise.” Reese, 138 S. Ct. at 766.

       While it is true that the Supreme Court in Reese also relied on other bases to reverse the

Sixth Circuit, there can be no dispute that both Tackett and Reese emphasized the requirement that

courts give meaning to durational clauses, even those that might be considered “general.” See

discussion supra. Tackett and Reese also reject the idea that a termination provision must include

a specific reference to retiree medical benefits in order to defeat a vesting claim. Id. As noted

above, these principles apply regardless of whether the contract at issue is silent (as in Reese) or

contains a provision that allegedly includes a promise of vested benefits (as Plaintiffs claim is the

case here). See discussion supra.




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       Thus, by failing to apply Section 7’s termination language to Plaintiffs’ vesting claim

because it did not expressly reference “benefits,” the District Court failed to apply the durational

clause principle the Supreme Court emphasized in both Tackett and Reese. To require that the

termination clause include specific mention of the benefits “distort[s] the text of the agreement

and conflicts with the principle of contract law that the written agreement is presumed to

encompass the whole agreement of the parties.” Tackett, 135 S. Ct. at 936.

       C.      The Seventh Circuit cases cited by Defendants all fully align with Tackett and
               Reese and support rejection of Plaintiffs’ claim

       In declining to apply Section 7 to Plaintiffs’ claim, the District Court also found that the

Seventh Circuit cases Defendants cited did not support their argument because “[t]he provisions

in the Seventh Circuit cases Defendants cite expressly limited the duration of benefits to the

duration of the agreement.” Doc. 55 at 6 (emphasis in original). Even if correct, but see discussion

infra, it is clear following Tackett and Reese that a termination clause need not specifically

reference the alleged vested benefits in order to be given meaning. See discussion supra. So even

if the duration or termination provisions in the cases Defendants cited referenced the benefits at

issue, the legal principles applied in those cases still support dismissal of Plaintiffs’ claim.

       Moreover, there is no indication in any of these Seventh Circuit cases that the outcome

actually turned on the inclusion of an express reference to the terms “benefits” or “coverage.” Two

of the cases included a reference to “benefits.” Cherry v. Auburn Gear, Inc., 441 F.3d 478 (7th

Cir. 2006); Barnett v. Ameren Corp., 436 F.3d 830 (7th Cir. 2006). But neither holding focused

on that term in rejecting the vesting claim.2 In Auburn Gear, the labor contract addressed both


2
        The same is true in Grove v. Johnson Controls, Inc., 694 F. App’x 864 (3d Cir. 2017), a
case from outside the Seventh Circuit this Court also addressed. Like Auburn Gear and Barnett,
the presence of the word “benefits” did not factor prominently in the Third Circuit’s holding that
the termination or reservation of rights clauses—some of which did not include a reference to
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active employee benefits and retiree medical benefits. 441 F.3d at 479. And the introductory

section promised to provide a list of enumerated benefits “during the period of this Agreement”

that did not specifically reference retiree medical benefits. Id. Thus, in finding the introductory

section defeated the plaintiffs’ vested benefit claim, the Seventh Circuit rejected the plaintiffs’

argument that the introductory section did not apply to the retiree benefits described elsewhere in

the contract, finding the introductory section “act[ed] as an overriding preamble for both active

and retired employees.” Id. at 483. The Seventh Circuit placed no emphasis on the enumerated

benefits in the introductory section in reaching its conclusion.

        Similarly, in Barnett, the Seventh Circuit found the plaintiffs’ vesting claim failed because

the phrase “for the life of the Labor Agreement” was an “explicit limitation” that “removes any

ambiguity as to the [Labor Agreement’s use of] the terms ‘vested’ and ‘vesting.’” 436 F.3d at 834.

Nothing in the Seventh Circuit’s analysis suggests any reference to “benefits”3 in the termination

clause factored into its holding.

        The other four cases the District Court addressed referred to “coverage” or “coverages.”

But, once again, nothing in the Seventh Circuit’s analyses suggests any aspect of its holdings

turned on the presence of the words “coverage” or “coverages.” Vallone, 375 F.3d at 636; Int’l

Union, United Auto. Aerospace and Agricultural Implement Workers of Am., UAW v. Rockford




“benefits”—defeated the plaintiffs’ vesting claim. See Grove v. Johnson Controls, Inc., 176 F.
Supp. 3d 455, 473 & n.4, 478–79 (M.D. Pa. 2016) (Subclasses A and B vesting claims defeated
by termination and reservation of rights clauses with no reference to benefits).

3
        Notably, the language cited by this Court from Barnett does not indicate that “health care
benefits” was in fact included in the labor contract language, because the Seventh Circuit did not
include that phrase in quotations when discussing the termination provision. Barnett, 436 F.3d at
832.

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Powertrain, Inc., 350 F.3d 698, 702, 703 (7th Cir. 2003); Murphy v. Keystone Steel & Wire Co.,

61 F.3d 560, 566 (7th Cir. 1995); Ryan v. Chromalloy Am. Corp., 877 F.2d 598, 601 (7th Cir.

1989). In fact, a general reference to “coverage(s)” could just as easily be viewed as referring to

the agreement or plan in its entirety.

       Viewing the entire substance of the Seventh Circuit’s analyses in these cases supports the

conclusion—contrary to the District Court’s ruling—that there is no material difference for

contract interpretation purposes, especially following Tackett and Reese, between a termination

provision that allows termination of the entire agreement and a provision that permits termination

of the coverages provided by that agreement.

       Therefore, notwithstanding the textual differences between Section 7 and the termination

provisions in the Seventh Circuit cases discussed above, the same legal premise that supported

denial of the claims in those cases will support reversal of the District Court’s ruling here. Namely,

“when ‘lifetime’ benefits are granted by the same contract that reserves the right to change or

terminate the benefits, the ‘lifetime’ benefits are not vested.” Vallone, 375 F.3d at 634–35 (citation

omitted).

       As Defendants previously noted, Doc. 51 at 5, “[t]he reason for such a holding is that

benefits described as ‘lifetime’ are not really vested when the same contract also reserves the right

to revoke them, because the only proper construction of the two seemingly conflicting provisions

is that the ‘lifetime’ benefits are ‘good for life unless revoked or modified.’” Barnett, 436 F.3d

830 at 833. See also Bland v. Fiatallis N.A. Inc., 401 F.3d 779, 786 (7th Cir. 2005) (interpreting

“lifetime” language as “good for life unless revoked or modified” was “most plausible,” “because

the presence of a reservation of rights clause fundamentally alters the interpretation of ‘lifetime’

language.”). None of this reasoning turns on the presence in the termination provision of a specific

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reference to the alleged vested benefits. These Seventh Circuit cases fully support Defendants’

position, especially given the fact that the 2002 Agreement only addresses retiree benefits.

           Defendants therefore respectfully submit they have demonstrated a strong likelihood of

success on the merits sufficient to support a stay pending appeal. See cases discussed supra. See

also Heitmann v. City of Chicago, 2008 WL 1943239, at *2 (N.D. Ill. 2008) (conflicting precedent

on controlling issue of law supported conclusion that moving party demonstrated likelihood of

success on the merits); A&F Enters. II, 742 F.3d at 766 (purpose of stay pending appeal is to

minimize the costs of error).

II.        Defendants Will Likely Suffer Irreparable Harm Without a Stay of the Injunction

           Defendants further submit they are also able to demonstrate irreparable harm sufficient to

support a stay. The Seventh Circuit has observed that irreparable harm is that which “cannot be

repaired, retrieved, put down again, [or] atoned for.” Graham v. Med. Mut. of Ohio, 130 F.3d 293,

296 (7th Cir. 1997) (citations omitted).

           Defendants’ obligation under the injunction the District Court issued satisfies this prong of

the analysis. If the District Court denies Defendants’ motion to stay, the injunction requires that

Defendants restore the retiree health insurance benefits provided under the 2002 Agreement. Doc.

64. Defendants estimate reinstatement of the 2002 Agreement will cost approximately $1.3

million–$1.6 million per year. See Declaration of Patricia Chidiac, attached hereto as Ex. A, ¶ 4.

A significant portion of that cost will go towards obtaining coverage, finding and offering re-

enrollment to eligible participants, expending costs for plan administration, and paying for the

majority of the cost of benefits for those eligible participants who elect to reinstate their coverage.

Id. ¶ 5.



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       Because these are not costs directly borne by the individuals who elect to resume coverage,

if Defendants should prevail in their appeal, they will have little, if any, recourse to recoup the

administrative and other costs of reinstating coverage while this matter is pending appeal.

Accordingly, Defendants respectfully submit they have demonstrated that they will likely suffer

irreparable harm in the absence of a stay pending appeal. Ill. Bell Tel. Co. v. Hurley, 2005 WL

735968, at *7 (N.D. Ill. 2005) (party demonstrated irreparable harm where there was no entity

against which monetary damages could be recovered); Iowa Utils. Bd. v. Fed. Commc’ns Comm’n,

109 F.3d 418, 426 (8th Cir. 1996) (same); Cohen v. Minneapolis Jewish Fed’n, 2018 WL 6191046,

at *1 (W.D. Wis. 2018) (moving party demonstrated irreparable harm; absent a stay, if funds in

dispute were distributed to third parties, there would be no way for them to be recovered). See

also Grutter v. Bollinger, 247 F.3d 631, 633 (6th Cir. 2001) (stay pending appeal warranted

because, inter alia, defendant irreparably harmed because it would have to implement a new

administrative scheme, the implications of which could be not reversed if district court’s ruling

was later reversed).

       Particularly in light of Defendants’ strong showing regarding their likelihood of success on

the merits, see discussion supra, Defendants submit these harms more than satisfy their burden

under the relevant factors. A&F Enters. II, 742 F.3d at 766 (under “sliding scale” approach, “the

greater the moving party’s likelihood of success on the merits, the less heavily the balance of harms

must weigh in its favor”).

III.   A Stay of the Injunction Will Not Substantially Harm Plaintiffs

       By contrast, Plaintiffs will not experience substantial harm with the issuance of a stay of

the injunction. Should the Seventh Circuit affirm the District Court, Defendants could then

reinstate the benefits and pay damages for any costs incurred by Plaintiffs from the date of the

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injunction through the date of the Court of Appeals’ decision. Thus, any possible harm could be

remedied by monetary damages. Solis v. Tenn. Commerce Bancorp, Inc., 2010 WL 1187001 (6th

Cir. 2010) (balancing of harms supported stay pending appeal; injunction would cause disruption

to the defendants’ operation and personnel “that cannot be undone,” while the plaintiff could be

made whole by award of compensatory damages, back pay and interest). And, if the Seventh

Circuit reverses the District Court and vacates the injunction, as Defendants submit is likely to

happen, see supra, then Plaintiffs will have incurred no harm whatsoever as they will not have

been entitled to the benefits in the first place.

        Because the record is devoid of any substantial harm to be borne by Plaintiffs should the

injunction be stayed, Defendants respectfully submit that this factor also supports the issuance of

a stay of the injunction. Id.

IV.     The Public’s Interest Lies in Enforcing the 2002 Agreement

        Finally, Defendants respectfully submit that the public’s interest lies in enforcing the

agreement actually reached by the parties in this case. As demonstrated above, the District Court’s

order and injunction erroneously required Defendants to reinstate coverage, contrary to the terms

of the 2002 Agreement. See discussion supra. Requiring Defendants to restore benefits that they

lawfully terminated serves no public interest. See, e.g., Bucciarelli-Tieger v. Victory Records, Inc.,

2007 WL 1498910, at *4 (N.D. Ill. May 17, 2007) (granting preliminary injunction to party arguing

that contract did not contain particular provision and agreeing that while “there is a public interest

in enforcing valid contracts,” “this interest also seeks to enforce a contract by its terms, and here,

those terms do not include an exclusivity provision.”); FreemantleMedia-Ltd. v. Colmar, Ltd.,

2001 WL 1360432, at *2 (N.D. Ill. Nov. 5, 2001) (granting preliminary injunction and finding that




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the moving parties had “the public interest firmly in their favor” because “the public has no interest

in enforcing agreements that do not exist.”).

                                          CONCLUSION
       For all these reasons, the District Court should grant Defendants’ motion to stay injunction

and enter an order staying its order (Doc. 55) and injunction (Doc. 64) requiring Defendants to

reinstate coverage under the 2002 Agreement.

Dated: May 3, 2019

                                                Respectfully submitted,

                                                SIGNODE INDUSTRIAL GROUP LLC and
                                                ILLINOIS TOOL WORKS INC.


                                                By: /s/ Joseph J. Torres
                                                        One of their Attorneys

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                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on May 3, 2019 he caused a true and correct copy of
the foregoing to be electronically filed with the Clerk of the Northern District of Illinois of the
United States District Court using the CM/ECF system and thereby served upon:

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                                       /s/   Joseph J. Torres
                                             Joseph J. Torres
